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     Chief Assistant Federal Defender
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     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     JOSEPH ROBERT SHARPE
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7
                                IN THE UNITED STATES DISTRICT COURT
8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                        )    Case No. 2:14-cr-043 GEB
                                                      )
11                           Plaintiff,               )    STIPULATION AND [PROPOSED] ORDER
                                                      )    TO CONTINUE STATUS CONFERENCE
12          v.                                        )
                                                      )
13   JOSEPH ROBERT SHARPE,                            )    Date: October 5, 2018
                                                      )    Time: 9:00 a.m.
14                           Defendant.               )    Judge: Hon. Garland E. Burrell, Jr.
                                                      )
15
16          IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
17   Attorney, through Amy Hitchcock, Assistant United States Attorney, attorney for Plaintiff, and
18   Heather Williams, Federal Defender, through Chief Assistant Federal Defender Benjamin D.
19   Galloway, attorneys for Joseph Sharpe, that the status conference scheduled for October 5, 2018,
20   at 9:00 a.m., be vacated and the matter continued to November 16, 2018, at 9:00 a.m., for further

21   status conference and trial confirmation.

22          The parties continue to actively meet and confer, and these discussions continue to

23   prompt additional factual and legal points of investigation and research for the defense. Thus,

24   this continuance is necessary to allow the defense additional time to review discovery,
     investigate the facts of the case, analyze relevant law and application of the Sentencing
25
     Guidelines, , and otherwise prepare for trial.
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            Defense counsel also needs additional time to confer with the defendant regarding the
27
     case, including the factual and legal points of investigation discussed above and defense
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      Stipulation and Proposed Order                      -1-
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1    preparation. Due to a chronic medical condition, the defendant is frequently housed in the
2    infirmary, which slows the ability to confer, and thus more time is required.
3            Based upon the foregoing, the parties agree time under the Speedy Trial Act should be

4    excluded of this order’s date through and including November 16, 2018; pursuant to 18 U.S.C.

5    §3161 (h)(7)(A) and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4

6    based upon continuity of counsel and defense preparation.

7            Counsel and the defendant also agree that the ends of justice served by the Court granting

8    this continuance outweigh the best interests of the public and the defendants in a speedy trial.

9            The parties further stipulate that any pretrial motions to be filed in anticipation of the jury

10   trial currently set for January 15, 2019 be due on November 16, 2018, the date previously set by

11   this court for trial confirmation.

12   DATED: September 21, 2018
                                                    Respectfully submitted,
13
                                                    HEATHER E. WILLIAMS
14                                                  Federal Defender
15                                                  /s/ Benjamin D. Galloway
16                                                  BENJAMIN D. GALLOWAY
                                                    Chief Assistant Federal Defender
17                                                  Attorney for JOSEPH ROBERT SHARPE

18
     DATED: September 21, 2018                      MCGREGOR W. SCOTT
19                                                  United States Attorney
20                                                  /s/ Amy Hitchcock
                                                    AMY HITCHCOCK
21                                                  Assistant United States Attorney
                                                    Attorney for Plaintiff
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      Stipulation and Proposed Order                   -2-
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1                                                 ORDER
2           IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as its
4    order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence. The Court finds the ends of justice are served by granting the requested continuance
7    and outweigh the best interests of the public and defendants in a speedy trial.
8           The Court orders the time from the date the parties stipulated, up to and including
9    November 16, 2018, shall be excluded from computation of time within which the trial of this case
10   must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and(B)(iv)
11   [reasonable time for counsel to prepare] and General Order 479, (Local Code T4).
12          It is further ordered the October 5, 2018 status conference, as to defendant, Joseph Robert
13   Sharpe, shall be continued until November 16, 2018, at 9:00 a.m., the date currently set for trial
14   confirmation. Any pretrial motions to be filed by the parties shall be filed by November 16, 2018.
15          Dated: September 24, 2018
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      Stipulation and Proposed Order                   -3-
